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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 16-62360-CIV-ALTONAGA/O’Sullivan

  JOAN WILLIAMS,

           Plaintiff,

  v.

  FIRST NATIONAL COLLECTION
  BUREAU, INC.,

        Defendant.
  _______________________________________/

                             NOTICE OF PENDING SETTLEMENT

           Plaintiff, JOAN WILLIAMS, by and through undersigned counsel, hereby submits this

  Notice of Pending Settlement and states the parties have reached a settlement with regard to this

  case and are presently drafting, finalizing, and executing the formal settlement documents. Upon

  full execution of the same, the parties will file the appropriate dismissal documents with the

  Court.

  Dated: February 26, 2017                         Respectfully Submitted,

                                                    /s/ Jibrael S. Hindi
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                                                   COUNSEL FOR PLAINTIFF
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 26, 2017, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.



                                                     /s/ Jibrael S. Hindi
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